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                    UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF MINNESOTA
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In re:                                                             Jointly Administered under
                                                                   19-43756 (WJF)

Granite City Food & Brewery Ltd.                                   19-43756
Granite City Restaurant Operations, Inc.                           19-43757
Granite City of Indiana, Inc.                                      19-43758
Granite City of Kansas Ltd.                                        19-43759
Granite City of Maryland, Inc.                                     19-43760

                  Debtors.                            Chapter 11 Cases
______________________________________________________________________________

                            NOTICE OF AUCTION
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PLEASE TAKE NOTICE OF THE FOLLOWING:

        The Consultation Committee, as defined in the Bid Procedures [Dkt. 140] approved by the
Court’s Order Approving Auction and Bid Procedures [Dkt. 143], received multiple Qualifying
Bids and will conduct an auction on Tuesday, February 11, 2020 at 9:00 a.m. CST at the offices
of Taft Stettinius & Hollister LLP.
      Any questions, including requests to observe the auction, may be directed to Karl J.
Johnson at 612-977-8665 or kjjohnson@taftlaw.com.
        Copies of the Bid Procedures and other pleadings may be obtained by any party in interest
free of charge on the dedicated website related to the Debtors’ chapter 11 cases maintained by the
noticing agent in these cases at https://dm.epiq11.com/case/GCF/info.
                                                 TAFT STETTINIUS & HOLLISTER LLP

                                                    /e/ Karl J. Johnson
 Dated: February 7, 2020                      By: _________________________
                                                 James M. Jorissen, #262833
                                                 Karl J. Johnson, #391211
                                                 2200 IDS Center
                                                 80 South Eighth Street
                                                 Minneapolis, MN 55402
                                                 Telephone: 612-977-8400
                                                 Facsimile: 612-977-8650
                                                 jjorissen@taftlaw.com
                                                 kjjohnson@taftlaw.com

                                                 COUNSEL FOR THE DEBTORS


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